Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 1 of 10 PageID #: 3394



                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


LUMINATI NETWORKS LTD.

            Plaintiff,

      v.                                   Case No. 2:18-cv-00299-JRG
UAB TESONET and UAB METACLUSTER            JURY TRIAL DEMANDED
LT,
            Defendants.




                    PLAINTIFF’S 12(b)(6) MOTION TO DISMISS
                   COUNTERCLAIMS OF FALSE ADVERTISING




                                       1
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 2 of 10 PageID #: 3395



                                                       TABLE OF CONTENTS
I.        LEGAL STANDARD FOR 12(b)(6) MOTIONS TO DISMISS AND THE NOERR-
          PENNINGTON DOCTRINE ................................................................................................ 1
     a.     Dismissal of Complaint for Failure to State a Claim under Fed. R. Civ. Pro. 12(b)(6). ..... 1
     b. The Noerr-Pennington Doctrine Provides Immunity and Is A Basis for 12(b)(6) Dismissal
     of Claims. .................................................................................................................................... 2
II. ARGUMENT ......................................................................................................................... 3
     a.     Teso does not plead facts sufficient to infer that the plaintiff’s right to relief is plausible . 3
     b.     The Noerr-Pennington Doctrine protects Luminati from Teso’s false advertising claims . 6
III. CONCLUSION ...................................................................................................................... 7




                                                                           i
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 3 of 10 PageID #: 3396



       Plaintiff Luminati Networks Ltd. (“Plaintiff” or “Luminati”) files this Fed. R. Civ. P.

12(b)(6) motion to dismiss Defendant UAB Teso LT’s (“Teso”) third counterclaim for false

advertising (Counterclaims, Doc. 108). Defendant cannot assert that Plaintiff’s Second Amended

Complaint (Complaint, Doc. 89) gives rise to a false advertising claim. First, Luminati cannot be

held liable for false advertising based on allegations in the complaint under the Noerr-Pennington

Doctrine. Second, Teso has not sufficiently pled a false advertising claim. A review of Teso’s

claim for false advertising reveals that it is based exclusively on allegations in a single paragraph

that Luminati “has made, and continues to make, improper allegations to Teso’s customers,

prospective customers, and partnered application developers that they are infringing at least the

’044 and the ’866 patents by using the OxyLabs products and/or SDK.” (Counterclaims, ¶ 122.)

As a matter of law, merely alleging infringement cannot constitute false advertising. Accordingly,

Plaintiff requests dismissal of Teso’s false advertising counterclaim under Fed. R. Civ. P. 12(b)(6).

I.     LEGAL STANDARD FOR 12(b)(6) MOTIONS TO DISMISS AND THE NOERR-
       PENNINGTON DOCTRINE

       a. Dismissal of Complaint for Failure to State a Claim under Fed. R. Civ. Pro.
          12(b)(6).

       Rule 12(b)(6) provides for dismissal for failure “to state a claim upon which relief may be

granted.” Fed. R. Civ. P. 12(b)(6).. Motions to dismiss for failure to state a claim are governed by

regional circuit law. Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d 1372, 1376 (Fed. Cir. 2017).

In this circuit, to avoid dismissal pleadings must show specific, well-pleaded facts, not merely

conclusory allegations. Guidry v. Bank of LaPlace, 954 F.2d 278, 281 (5th Cir. 1992). A legal

claim that lacks “facial plausibility” must be dismissed. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).




                                                 1
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 4 of 10 PageID #: 3397



       In addition, dismissal is appropriate under Rule 12(b)(6) “when a successful affirmative

defense appears on the face of the pleadings.” Miller v. BAC Home Loans Servicing, L.P., 726

F.3d 717, 726 (5th Cir. 2013) (quoting Kansa Reins. Co. v. Cong. Mortg. Corp. of Tex., 20 F.3d

1362, 1366 (5th Cir. 1994) (citation omitted)); see also Indus. Models v. SNF, Inc., No. 4:15-CV-

689-A, 2015 U.S. Dist. LEXIS 127296, at *5-7 (N.D. Tex Sep. 23, 2015) (dismissing antitrust

claims under Noerr-Pennington Doctrine, finding Plaintiff’s sham litigation allegations to be

conclusory).

       b. The Noerr-Pennington Doctrine Provides Immunity and Is A Basis for 12(b)(6)
          Dismissal of Claims.

       A court may properly dismiss an action under Rule 12(b)(6) if “it is apparent from the face

of plaintiff’s complaint that defendants are entitled to Noerr-Pennington immunity.” Love

Terminal Partners, L.P. v. City of Dallas, Tex., 527 F.Supp.2d 538, 549-50 (N.D. Tex. 2007). The

Noerr-Pennington “doctrine allows individuals or businesses to petition the government, free of

the threat of antitrust liability, for action that may have anticompetitive consequences” even if the

petition was motivated by anticompetitive intent. Greenwood Utils. Comm’n v. Miss. Power Co.,

751 F.2d 1484, 1497 (5th Cir. 1985); Video Int’l Prod., Inc. v. Warner-Amex Cable Commc’ns,

Inc., 858 F.2d 1075, 1082 (5th Cir. 1988).        This immunity is grounded both in the First

Amendment’s guarantee of the right to petition government as well as the proper scope of the

antitrust laws. See City of Columbia v. Omni Outdoor Adver., Inc., 499 U.S. 365, 379 (1991)..

       The Doctrine extends to publication and threats to litigate, such as cease-and-desist

letters, even though such actions do not entail petitioning the government. Coastal States

Mktg., Inc. v. Hunt, 694 F.2d 1358, 1367 (5th Cir. 1983); Select Comfort Corp. v. Sleep Better

Store, LLC, 838 F.Supp.2d 889, 896-900 (D. Minn. 2012) (“[T]he Noerr-Pennington doctrine

immunizes pre-suit demand letters …”). The Fifth Circuit has explained:


                                                 2
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 5 of 10 PageID #: 3398



       Given that petitioning immunity protects joint litigation, it would be absurd to hold
       that [the Noerr-Pennington Doctrine] does not protect those acts reasonably and
       normally attendant upon effective litigation. The litigator should not be protected
       only when he strikes without warning. If litigation is in good faith, a token of that
       sincerity is a warning that it will be commenced and a possible effort to compromise
       the dispute.

Coastal States Mktg., Inc., 694 F.2d at 1367; see also Select Comfort Corp., 838 F.Supp.2d at 896-

900 (“[b]ecause the right to petition means more than simply the right to communicate directly

with the government, protection under the doctrine necessarily includes those activities reasonably

and normally attendant to effective petitioning.”); In re IBP Confidential Bus. Documents

Litigation, 755 F.2d 1300, 1310 (8th Cir. 1985) (“[t]he right to petition means more than simply

the right to communicate directly with the government. It necessarily includes those activities

reasonably and normally attendant to effective petitioning.”).

       Although the Noerr-Pennington Doctrine initially arose in the antitrust field, it also

“protect[s] first amendment petitioning of the government from claims brought under federal and

state laws ….” Video Int’l Prod., Inc., 858 F.2d at 1084. For example, the Doctrine extends to

tortious interference claims, and efforts to protect intellectual property rights such as claims for

false advertising and misappropriation of trade secrets. See Id. at 1084-85; Select Comfort Corp.,

838 F.Supp.2d at 896; GoForIt Entm’t, LLC v. DigiMedia.com L.P., 750 F.Supp.2d 712, 742 (N.D.

Tex. 2010); Sliding Door Co. v. KLS Doors, No. EDCV 13-00196 JGB (DTBx), 2013 U.S. Dist.

LEXIS 71304, at *17-20 (C.D. Cal. May 1, 2013) (dismissing claims for false advertising under

the Noerr-Pennington Doctrine); and RPC, Inc. v. Prudhomme, No. 6:06-cv-152, 2007 U.S. Dist.

LEXIS 3946, at * 12 (E.D. Tex. Jan. 19, 2007) (finding Noerr-Pennington Doctrine to apply in

suit involving claims of trade secret misappropriation).

II.    ARGUMENT

       a. Teso does not plead facts sufficient to infer that the plaintiff’s right to relief is
          plausible
                                                 3
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 6 of 10 PageID #: 3399



        The elements of a Lanham Act false advertising claim are: “(1) a false or misleading

statement of fact about a product; (2) such statement either deceived, or had the capacity to deceive

a substantial segment of potential consumers; (3) the deception is material, in that it is likely to

influence the consumer’s purchasing decision; (4) the product is in interstate commerce; and (5)

the plaintiff has been or is likely to be injured as a result of the statement at issue.” Tinnus Enters.,

LLC v. Telebrands Corp., No. 6:17-CV-00170-RWS, 2018 U.S. Dist. LEXIS 79068, at *30 (E.D.

Tex. Mar. 9, 2018) (citing Pizza Hut Inc. v. Papa John’s Int’l Inc., 227 F.3d 489, 495 (5th Cir.

2000)). “The failure to prove the existence of any element of the prima facie case is fatal to the

plaintiff's claim.” Pizza Hut, Inc, 227 F.3d at 495.

        Teso’s counterclaim of false advertising falls short of meeting its pleading requirements,

at least because its allegations fail to identify a single “false or misleading statement,” and thus

fails to provide sufficient factual support to support a plausible right to relief. Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (“[t]o survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.”)1. Teso has

failed to allege facts that could constitute false or misleading statements.

        Teso’s false advertising counterclaim appears at paragraphs 121-128 of its Answer and

Counterclaims to Second Amended Complaint for Patent Infringement (Doc. 108). Of these

numbered paragraphs, only one—paragraph 122—contains any factual allegations of alleged

statements about a product. That paragraph is reproduced here in its entirety:

        122. Teso asserts that Luminati has engaged in false advertising against Teso, under
        15 U.S.C. § 1125(a), by making false advertisements to Teso’s customers, potential
        customers, and partnered application developers that Teso’s OxyLabs product are

1
 Teso’s citation in its counterclaim to Lexmark Int’l., Inc. v. Static Control Components Inc., 572
U.S. 118, 138 (2014) is misplaced. The Lexmark “Court did not substantively address the Lanham
Act Claim at all.” It discussed standing, which is not an issue here. See Digital Ally Inc., v. Util.
Assocs., 2017 U.S. Dist. LEXIS 49893, *54 (D. Kan. March 30, 2017).

                                                   4
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 7 of 10 PageID #: 3400



       illegal to use and that it is illegal to sell products using OxyLabs software data kits
       (“SDK”). Through these false advertisements, Luminati has materially
       misrepresented the nature, characteristics, and qualities of its own products and
       Teso’s OxyLabs products using OxyLabs SDK. For example, Luminati has made,
       and continues to make, improper allegations to Teso’s customers, prospective
       customers, and partnered application developers that they are infringing at least the
       ’044 and the ’866 patents by using the OxyLabs products and/or SDK.

       In this paragraph, where Teso alleges that “Luminati has materially misrepresented … its

own products,” the allegations are entirely devoid of any alleged factual representations at all about

Luminati’s own products. Thus, any claim about Luminati misrepresenting its own products is

not sufficiently pled to support a claim of false advertising.

       Second, Teso’s only factual allegations about Teso’s products are that Luminati has

accused them of patent infringement. But such an accusation on its own cannot support a claim

of false advertising. See Digital Ally Inc., 2017 U.S. Dist. LEXIS 49893, at *43-44 (holding that

false advertising claims failed where claimant had “not shown that statements in defendant’s letters

were false” when defendant sent letters regarding potential patent infringement). Luminati has not

made false or misleading statements, and Teso has failed to plead any. Teso’s allegation that

“Luminati knows, or should know, after a reasonable inquiry and due diligence that these

allegations are unfounded, not supported, and wholly improper” fails to suffice as support for the

alleged false statements because Luminati has a good faith belief that its allegations are true.

“[F]ederal patent law bars the imposition of liability for publicizing a patent in the marketplace

unless the plaintiff can show that the patent holder acted in bad faith.” Zenith Elecs. Corp. v. Exzec,

Inc., 182 F.3d 1340, 1352 (Fed. Cir. 1999) (quotation omitted).

       Teso’s allegation that Luminati should know its infringement claims will fail is legally

insufficient to support a false advertising claim as a matter of law. See Digital Ally, at *41, citing

Mikohn Gaming Corp. v. Acres Gaming, Inc., 165 F.3d 891, 897 (Fed. Cir. 1998)



                                                  5
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 8 of 10 PageID #: 3401



(“communications to possible infringers concerning patent rights is not improper if the patent

holder has a good faith belief in the accuracy of the communication.”); Virginia Panel Corp. v.

MAC Panel Co., 133 F.3d 860, 869 (Fed. Cir. 1997) (“patentee must be allowed to make its rights

known to a potential infringer so that the latter can determine whether to cease its allegedly

infringing activities, negotiate a license if one is offered, or decide to run the risk of liability and/or

the imposition of an injunction.”); Mallinckrodt, Inc. v. Medipart, Inc., 976 F.2d 700, 709 (Fed.

Cir. 1992) (holding that a patent holder “that has a good faith belief that its patents are being

infringed violates no protected right when it so notifies infringers”); Virtue v. Creamery Package

Mfg. Co., 227 U.S. 8, 37-38, 33 S. Ct. 202, 57 L. Ed. 393, 1913 Dec. Comm'r Pat. 519 (1913)

(“Patents would be of little value if infringers of them could not be notified of the consequences

of infringement, or proceeded against in the courts. Such action, considered by itself, cannot be

said to be illegal.”).

        As just one example of the insufficiency of the pleading, Teso would have had to plead

facts sufficient to demonstrate that Luminati’s patent infringement claims were both objectively

and subjectively baseless at the time made, and no such facts are alleged. See Boydstun Equip.

Mfg., Ltd. Liab. Co. v. Cottrell, Inc., 2017 U.S. Dist. LEXIS 175659, at *17 (D. Or. Oct. 24, 2017).

It is not enough to allege—as Teso has done—a mere conclusion that Luminati’s infringement

allegations are in bad faith. Teso must allege specific facts from which such a claim is plausible

in accordance with the Supreme Court’s requirement under Iqbal and Twombly. Teso’s allegations

are facially insufficient to plead its counterclaim for false advertising.

        b. The Noerr-Pennington Doctrine protects Luminati from Teso’s false advertising
           claims

        Additionally, Teso bases its false advertising claims on allegations made in the Complaint

in this litigation, and as such Luminati is protected from such a claim under the Noerr-Pennington


                                                    6
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 9 of 10 PageID #: 3402



Doctrine. Coastal States Mktg., Inc. v. Hunt, 694 F.2d 1358, 1367 (5th Cir. 1983). Luminati has

a right to file a complaint to enforce its patent rights and protect its intellectual property without

risk of being subject to a false advertising claim based upon the allegations in that complaint.

Sliding Door Co. v. KLS Doors, No. EDCV 13-00196JGB (DTBx), 2013 U.S. Dist. LEXIS 71304,

at *17-20 (C.D. Cal. May 1, 2013) (dismissing claims for false advertising based on post-litigation

emails to purchasers and potential purchasers notifying them of the lawsuit as communications

related to the litigation and protected under the Noerr-Pennington Doctrine).

       The communication of allegations from the complaint cannot serve as the basis for a false

advertising claim short of pleading sham litigation, and no facts are pled that could support such a

finding. Statements warning others that their acts constitute patent or other intellectual property

infringement also are protected by Noerr-Pennington immunity, so no false advertising claim can

be based on such allegations. See Coastal States Mktg., Inc. v. Hunt, 694 F.2d 1358, 1367 (5th

Cir. 1983); Matsushita Elecs. Corp. v. Loral Corp., 974 F. Supp. 345, 359 n.28 (S.D.N.Y. 1997);

West Professional Education Group v. Harcourt Brace Legal and Professional Publications, Inc.,

1995 U.S. Dist. LEXIS 9793, No. 3-95-176, 1995 WL 422651 (D. Minn. June 2, 1995); Johnson

v. Con-Vey/Keystone, Inc., 856 F. Supp. 1443 (D. Or. 1994); Barq's Inc. v. Barq's Beverages, Inc.,

677 F. Supp. 449 (E.D. La. 1987); Aircapital Cablevision, Inc. v. Starlink Communications Group

Inc., 634 F. Supp. 316 (D. Kan. 1986). Teso has not pled that this is a sham litigation nor specific

facts that would make such an allegation plausible. See, e.g., Globetrotter Software, Inc. v. Elan

Comput. Grp., Inc., 362 F.3d 1367, 1375 (Fed. Cir. 2004). Thus, Teso’s claims of false advertising

should be dismissed.

III.   CONCLUSION

       Luminati respectfully requests that the Court grant this motion to dismiss Defendant’s third

counterclaim false advertising. The Counterclaim fails to plead facts on which a false advertising

                                                  7
Case 2:18-cv-00299-JRG Document 118 Filed 08/20/19 Page 10 of 10 PageID #: 3403



 claim can be based, and the alleged accusations of infringement as a matter of law cannot as pled

 support a claim of false advertising in light of Noerr-Pennington immunity.



 Dated: August 20, 2019                          Respectfully submitted,

                                                 By: /s/ Robert M. Harkins

                                                 S. Calvin Capshaw
                                                 State Bar No. 03783900
                                                 Elizabeth L. DeRieux
                                                 State Bar No. 05770585
                                                 Capshaw DeRieux, LLP
                                                 114 E. Commerce Ave.
                                                 Gladewater, TX 75647
                                                 Telephone: 903-845-5770
                                                 ccapshaw@capshawlaw.com
                                                 ederieux@capshawlaw.com

                                                 Amadou Kilkenny Diaw
                                                 Ronald Wielkopolski
                                                 RuyakCherian LLP
                                                 1700 K St. NW, Suite 810
                                                 Washington, DC 20006

                                                 Korula T. Cherian
                                                 Robert Harkins
                                                 RuyakCherian LLP
                                                 1936 University Ave, Ste. 350
                                                 Berkeley, CA 94702

                                                 Attorneys for Plaintiff
                                                 Luminati Networks Ltd.




                                                8
